           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       CHARLOTTE DIVISION

                         CRIMINAL NO. 3:01CR11-2


UNITED STATES OF AMERICA                     )
                                             )
                                             )
                   VS.                       )            ORDER
                                             )
                                             )
TERRY W. STEWART                             )
                                             )


      THIS MATTER is before the Court on remand from the United States

Fourth Circuit Court of Appeals. See United States v. Stewart, 2009 WL

434864 (4th Cir. Feb. 20, 2009). On remand, the Fourth Circuit directs this

Court “to explicitly address, and accept or reject, in the context of

considering excusable neglect factors, the reasons proffered by Stewart for

his delay in filing the notices of appeal.” Id. at *1.1




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      The undersigned fully incorporates herein the findings and
conclusions set forth in the Orders entered on August 27, 2007, and
January 8, 2008.


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                              I. BACKGROUND

     Defendant appealed from two Orders entered by the undersigned on

March 6, 2007 (“March 6th Order”), and March 13, 2007 (“March 13th

Order”). At the earliest, Defendant filed his appeal of the March 6th Order

on March 23, 2007, as evidenced by the date provided on the Certificate of

Service signed by his wife, Jeni Stewart. See Notice of Appeal from

March 6th Order, filed March 27, 2007, at 2. Defendant filed his appeal

of the March 13th Order on April 6, 2007, as evidenced by the date

provided on the Certificate of Service. See Notice of Appeal from March

13th Order, filed April 18, 2007.



                              II. DISCUSSION

A. Appeal of the March 6th Order

     As the Court of Appeals observed, Defendant had to file his notice of

appeal “within ten days of the March 6, 2007 order, i.e., by March 20,

2007.” United States v. Stewart, 259 F. App’x 613 (4th Cir. 2007) (citing

Fed. R. App. P. 26(a)(2)). In his notice of appeal, Defendant contends the

following: “To date, petitioner has not received a copy of the above

mentioned denial, but became aware of said denial when petitioner’s wife



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viewed the case docket on the internet.” Notice of Appeal from March

6th Order, at 1. Defendant offers no evidence that would enable the

undersigned to find (1) the date Defendant’s wife “viewed the case docket”

and learned of the denial; or (2) the date Defendant’s wife informed him of

the denial. Thus, Defendant could have learned of the denial at any time

after the March 6th Order was entered and before the March 20th deadline

for appeal expired. Or, Defendant could have learned about the denial

from his wife after the March 20th deadline had expired. As Defendant has

made no showing on this issue, the undersigned declines to make any

assumptions in this regard and, therefore, cannot conclude that Defendant

only learned of the March 6th Order after the March 20th deadline had

passed. The Court finds that Defendant has failed to show reason for the

delay and, therefore, finds Defendant has failed to show that the delay was

for good cause or is the result of excusable neglect.



B. Appeal of the March 13th Order

     As found by the Court of Appeals, Defendant had to file “his notice of

appeal by March 27, 2007. Stewart filed his notice of appeal at the earliest

on April 6, 2007[.]” Stewart, 259 F. App’x at 613. Defendant contends in



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his affidavit that he did not receive the denial of his motion until March 23,

2007, and his Certificate of Service indicates that he placed his notice of

appeal in the prison’s mail system on April 6, 2007. Notice of Appeal of

the March 13th Order, at 1-2. By his own admission, Defendant shows

that he received actual notice of the denial on March 23, 2007, several

days before his time to appeal expired on March 27th. Defendant

apparently proceeded under the notion that his appeal was “timely filed

once placed in the hands of prison officials” within ten days after his receipt

of the March 13th Order. Id. at 1. However, the Rules state that the time

for appeal runs from the entry of the order of judgment. Fed. R. App. P.

4(b)(1)(A)(i).

      Based on the Defendant’s record in this Court, beginning with his not

guilty pleas to the jury’s verdict of guilty on most of the charges contained

in the indictment, the Court finds by a preponderance of the evidence that

Defendant’s affidavit is not true and, therefore, constitutes no just cause for

relief. The Defendant’s only excuse for his failure to comply with the

mandates of Fed. R. App. P. 4 is the lack of notice of the Court’s adverse

rulings. The Court determines that the proffered reason is false.




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      The burden is on the Defendant to show compliance with the Federal

Rules of Appellate Procedure. Absent such compliance, dismissal is

mandatory unless Defendant makes a showing of good cause or excusable

neglect for his failure. Powell v. Starwalt, 866 F.2d 964 (7th Cir. 1989).

Just cause or good cause is defined as “a legally sufficient reason.”

Black’s Law Dictionary, at (8th ed. 2004). “[T]he determination whether

good cause exists is one entrusted to the district court’s discretion.”

Giacomo-Tano v. Levine, 199 F.3d 1327 (table), 1999 WL 976481 (4th

Cir. 1999).

      The Court has found previously that Defendant failed to act in good

faith and that continued pursuit of his untimely motions were without merit,

frivolous, and adversely impacted judicial proceedings in this Court. The

Court further finds that Defendant was at all times pertinent to these

proceedings and in complete control of his own litigation. See Pioneer

Inv. Servs. Co. v. Brunswick Assoc. Ltd., 507 U.S. 380, 395 (1993).

“‘Excusable neglect’ is not easily demonstrated, nor was it intended to be.”

Thompson v. E.I. DuPont de Nemours & Co., Inc., 76 F.3d 530, 534 (4th

Cir. 1996). “[A] district court should find ‘excusable neglect’ only in the




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‘extraordinary cases where injustice would otherwise result.’” Id. (quoting

Notes to 1964 Fed. R. Civ. P. 73(a)).

      The undersigned specifically rejects Defendant’s proffered reason for

his untimely filing of his notices of appeal and finds that he has not

demonstrated excusable neglect or good cause for the untimely filing of his

appeals.



                                 III. ORDER

      IT IS, THEREFORE, ORDERED that Defendant has failed to show

excusable neglect or good cause for failing to timely appeal the rulings

cited above.

      The record, having been supplemented as directed by the Fourth

Circuit, may now be returned to that Court for further proceedings.



                                       Signed: March 5, 2009




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